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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

David W. Lynas, as Trustee for the next-of kin of
James C. Lynas,                                           Civ. No. 18-2301 (JRT/KMM)

                                    Plaintiff,
v.

Linda S. Stang, et al.,
                            Defendants.
_______________________________________

                           STATEMENT OF NO POSITION

        The remaining MEnD Defendants in this case, Michael Robertson, PsyD, and MEnD

Correctional Care, PLLC, by and through their undersigned counsel, have reviewed Plaintiff’s

Petition for Approval of Settlement Distribution (Dkt. No. 123) in this matter and take no

position on the Petition other than to note it accurately reflects the total settlement between

Plaintiff and the MEnD Defendants. The MEnD Defendants take no position on how the

amounts in the Petition are distributed.

                                    LARSON • KING, LLP

Date: January 5, 2021               /s/ Anthony J. Novak
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